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EXHIBIT G
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STEPHEN A. BEST
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fax: 212.938.2937
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March 2, 2022




VIA ELECRONIC MAIL

Kaitlin Sahni
Kate Naseef
Kirk Handrich
Trial Attorneys
Narcotic and Dangerous Drug Section
U.S. Department of Justice, Criminal Division
145 N Street NE, 2nd Floor East
Washington, D.C. 20530

RE:       United States v. Gerardo Gonzalez-Valencia (Case No. 16-CR-065)

Dear Counsel:

        I write on behalf of my client, Gerardo Gonzalez-Valencia, to request further clarity on your stated
position that the Department of Justice had no involvement with the Department of State’s July 16, 2019
response to the Uruguayan Court regarding the Court’s specific requests for further information (the
“Diplomatic Note”).

        Specifically, I request clarity on your statement to Judge Howell that the “Diplomatic Note [was]
drafted by Department of State personnel without the involvement of the Department of Justice.” Please
provide responses to the below questions:

      1. Prior to the Department of State’s July 16, 2019 written response to the Uruguayan Court, did you
         or any member of the Department of Justice, receive a copy of the November 20, 2018 or February
         22, 2019 requests from the Uruguayan Court?
      2. Regardless of whether or not you received a copy of either request, was any member of the
         Department of Justice made aware of said requests from the Uruguayan Court? If so, when? Please
         provide the specific details.
      3. Did any member of the Department of Justice review the response by the Department of State
         before it was sent? If so, please provide any and all drafts and details of any comments or proposed
         edits.
      4. How could the Department of State competently and substantively respond to this request without
         consulting with the Department of Justice? Did personnel at the Department of State have
         substantive knowledge of the facts and supporting documentation in the case?
      5. Does the Department of Justice have any understanding of why it took nine months to respond to
         the Uruguayan Court’s requests?
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        As a courtesy, I attach translations of the requests from the Uruguayan Court and the Diplomatic
Note. Please accord me with the favor of a response on or before close of business on Monday, March 7,
2022.
        If you have any questions, please do not hesitate to call me directly at (202) 536-1737.

                                                                Sincerely,

                                                                BROWN RUDNICK LLP




                                                                Stephen A. Best

Enclosures
